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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                               CASE NO.: 1:19-cv-07736-VMK-JC

 KINON SURFACE DESIGN, INC.,

                 Plaintiff,

 v.

 HYATT INTERNATIONAL
 CORPORATION, HYATT
 INTERNATIONAL TECHNICAL
 SERVICES, INC., HYATT OF CHINA
 LIMITED, HYATT INTERNATIONAL
 HOTEL MANAGEMENT (BEIJING) CO.,
 LTD., AND CHINA RESOURCES
 (DALIAN) CO., LTD.,

                 Defendants.


DECLARATION OF JOEL B. ROTHMAN IN SUPPORT OF MOTION FOR ENTRY OF
                         CLERK’S DEFAULT

I, JOEL B. ROTHMAN, declare and say:

         1.     I am an attorney duly licensed to practice before this Court, and I am counsel for

Plaintiff KINON SURFACE DESIGN, INC. (“Hyatt”) in the above-captioned matter. I make

this Declaration, which is filed in support of Plaintiff's Motion for Entry of Clerk’s Default, and I

could and would testify competently to the matters set forth herein.

         2.     On November 22, 2019, Plaintiff filed its Complaint against Defendants Hyatt

International Corporation, Hyatt International Technical Services, Inc., Hyatt of China Limited,

Hyatt International Hotel Management (Beijing) Co., Ltd., and China Resources (Dalian) Co.,

Ltd. [ECF 1].
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        3.      On February 27, 2020, CRD was served with the Summons and a copy of the

Complaint by sub-serving the Illinois Secretary of State, Department of Business Services, 501

South Second Street, Room 350, Springfield, Illinois, 62756, and by sending a copy of the

Summons and Complaint by registered mail to CRD at 38/F, Dalian World Trade Center, No. 25,

Tongxing Street, Zhongshan District, Dalian, Lioaning, China. Attached hereto as Exhibit “A” is

a true and correct copy of the Affidavit of Service on file with the Court, reflecting that CRD

was served by substitute service with its Summons and a copy of the Complaint to the Illinois

Secretary of State, and a copy of the receipt for registered mail to CRD.

        4.      The time allowed for CRD to respond to the Complaint has expired.

        5.      CRD have not been granted an extension of time to respond to the Complaint.

        6.      CRD have failed to answer or otherwise respond to the Complaint, or serve a

copy of their Answer or other response upon Plaintiff's attorneys of record.

        7.      I am informed and do not believe that CRD is an infant or incompetent person,

and, upon information and belief, the Servicemembers Civil Relief Act does not apply.

        I declare under perjury under the laws of the United States of America that the foregoing

is true and correct.

        Executed on April 2, 2020.




                                             JOEL B. ROTHMAN




                                                 2
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                         Exhibit
                                   A
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     FORM BCA-5.25 (rev. Dec. 2014)
     AFFIDAVIT OF COMPLIANCE
     FOR SERVICE ON SECRETARY OF STATE
     Business Corporation Act

 Department of Business Services
                                                                                                                         FEB 2 7 2020
 501 S. Second St., Rm. 350
 Springfield, IL 62756                                                                                                   JESSE WHITE
 217-782-6961                                                                                                    SECRETARY OF STATE
 www.cyberdriveillinois.com

 Payment must be made by ctieck or money
 order payable to Secretary of State.
                                                                 9812-3903
                   Filing Fee: $10             File #:                                             Approved:

                 Submit In duplicate                     Type or Print clearly in black ink                   Do not write above this line


 1.       Title and Number of Case:
             Kinon Surface Design, Inc.                                       first named plaintiff
                                     V.                                                                                Number: 1:'l9-cv-07736
             Hyatt of China Limited, et al.                                   first named defendant

 2.       Name of corporation being served: China Resources (Dalian) Co., Ltd.
3.        Title of court in which an action, suit or proceeding has been commenced: USDC Northern District of Illinois
4.        Title of instrument being served: Summons and Complaint
5.        Basis for service on the Secretary of State:(check and complete appropriate box)

            a. □      The corporation's registered agent cannot with reasonable diligence be found at the registered office of
                      record in Illinois.

            b. □      The corporation has failed to appoint and maintain a registered agent in Illinois.

           c. □      The corporation was dissolved on                                                                          ; the conditions
                                                                                      Month Day                         Year
                     of paragraphs (a) or (b) above exist; and the action, suit or proceeding has been instituted against or
                     has affected the corporation within five (5) years thereafter.

           d. □      The corporation's authority to transact business in Illinois has been withdrawn/revoked (circle one) on

                                  Month Day                            Year
           e. aZT The corporation is a foreign corporation that has transacted business in Illinois without procuring authority,
                     contrary to the provisions of the Business Corporation Act of 1983.

6.       Address to which the undersigned will cause a copy of the attached process, notice or demand to be sent by certified
         or registered mail: 38/F, Dalian World Trade Center. No. 25 Tongxing Street, Zhongshan District, Dalian, Lioani
7.       The und/            affirms, under penalties of perjury, that the facts stated herein are true, correct and complete.
                                                                                 February 24                                   2020
                                signature of Affiant                                              Month Day                        Year
                                               (561            ) 404-4350
                                                                        Telephone Number
Return to (please type or print clearly):

         Joel B. Rotham, SRIPLAW
                                 Name
         21301 Powerline Road, Suite 100
                                 street
         Boca Raton, FL 33433
              City/Town                          state   Zip
                                          Printed by authority of the State of Illinois. January 2015 — 1 — C 213.11
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                                     Case: 1:19-cv-07736 Document #: 46-1 Filed: 04/03/20 Page 5 of 8 PageID #:489
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                                                                                                                                                                postal or customs regulations. 1 have metdl applicable export filing requirements under
nr?ift             n Roti Ifiwt Owls              n Hiimsnltarisn rvuvatinr*    Fl Other                                                                        federal law and regulations.
2. Detailed Description of Contents                                1                    1       4. Net Weght (Ea)                      5. Value (Ea)         For Business Mailers, for Items in Block 2 p! the ihtormafion is known)
  (£/j/er only one item per line)                                      3. Quantity              Lbs.                Oz.                   U.S. $             24. MS Tariff Number                                     i 25. Country ol Oigin
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PS Form 2976-R. April 2016                 PSN 7530-17-000-7992                                           IMPORTANT; This package may be opened officially.                                                                                         4 - Sender's Copy
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